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 1                                  UNITED STATES DISTRICT COURT
                                              FOR THE
 2                                   WESTERN DISTRICT OF TEXAS
 3
                                                      §
     REBECCA MAHAR,                                   §
 4
                                                      §
                     Plaintiff,                       §
 5
                                                      §       Case No.: 1:14-cv-00582
             v.                                       §
 6
                                                      §       COMPLAINT AND DEMAND
     GC SERVICES, LP,                                 §       FOR JURY TRIAL
 7
                                                      §
                     Defendant.                       §       (Unlawful Debt Collection Practices)
 8
                                                      §
                                                      §
 9

10
                                                COMPLAINT
11
             REBECCA MAHAR (“Plaintiff”), by and through her attorneys, KIMMEL &
12
     SILVERMAN, P.C., alleges the following against GC SERVICES, LP (“Defendant”):
13

14
                                             INTRODUCTION
15
             1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
16
     U.S.C. § 1692 et seq. (“FDCPA”), the Texas Debt Collection Act, Tex. Fin. Code § 392 et seq.
17
     (“TDCA”) and Texas common law.
18
                                              JURISDICTION
19
             2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which states that
20
     such actions may be brought and heard before “any appropriate United States district court
21
     without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this court
22
     original jurisdiction of all civil actions arising under the laws of the United States.
23

24
             3.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

25           4.      Defendant regularly conducts business in the State of Texas therefore personal

     jurisdiction is established.
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 1           5.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
 2   Defendants transact business in this District and a substantial portion of the acts giving rise to
 3
     this action occurred in this District.
 4

 5
                                                   PARTIES
 6
             6.       Plaintiff is an adult individual residing in Johnson City, Texas, and is a
 7
     “consumer” as the term is defined by 15 U.S.C. § 1692a(3) and Tex. Fin. Code Ann. §
 8
     392.301(a)(8).
 9
             7.       Defendant is a Texas business entity with its principal place of business located
10

11   at 6330 Gulfton Drive, Houston, Texas 77081.

12           8.       Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6)

13   and Tex. Fin. Code Ann. § 392.001(6).

14           9.       Defendant acted through its agents, employees, officers, members, directors,
15   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
16

17
                                        FACTUAL ALLEGATIONS
18
            10.       At all times material hereto, Defendant contacted Plaintiff in an effort to collect a
19
     consumer debt originally owed to Sallie Mae, a student loan provider.
20
            11.       Upon information provided and belief, the alleged debt arose out of transactions that
21
     were for personal, family, or household purposes, as Plaintiff does not have any business debt.
22

23
            12.       Beginning in July 2013 continuing through August 2013, Defendant’s collectors

24   placed repeated and continuous telephone calls to Plaintiff’s cellular and work telephone

25   numbers.


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 1          13.     Defendant’s collectors called Plaintiff from telephone numbers, including but not
 2   limited to, (512) 549-8193 and (512) 782-0066, which the undersigned has confirmed belongs to
 3
     Defendant.
 4
            14.     On average, Defendant’s collectors called Plaintiff’s cellular telephone two times
 5
     per day, despite requests by Plaintiff not to be contacted by telephone.
 6
            15.     Once Defendant was aware that Plaintiff did not wish to be contacted by
 7
     telephone there was no reason for further calls, except for the purposes of harassment.
 8
            16.     Defendant’s collectors also called Plaintiff’s place of employment and spoke with
 9
     her employer seeking information regarding Plaintiff’s location and salary.
10

11          17.     During its call with Plaintiff’s employer, Defendant revealed that it was a debt

12   collector and that Plaintiff owed a debt. Defendant also advised Plaintiff’s employer that it was

13   seeking to garnish Plaintiff’s wages.       However, when Plaintiff’s employer requested that

14   Defendant provide documentation to support its garnishment request, Defendant hung up the
15   telephone.
16
            18.     Based upon information provided and belief, Defendant had no intention to
17
     actually garnish Plaintiff’s wages. Instead, Defendant made these threats with the intent to
18
     harass, oppress, and abuse Plaintiff.
19
            19.     Plaintiff was extremely embarrassed and made to feel ashamed when she learned
20
     that facts about her private financial obligations had been disclosed to her employer.
21
            20.     Finally, within five days of its initial communication with Plaintiff, Defendant
22

23
     failed to send written notification of her rights to dispute the debt and/or to request verification of

24   the debt, as well as the name of the original creditor and the amount of the debt.

25          21.     Defendant’s actions in attempting to collect the alleged debt were taken with the

     intent to harass, annoy and coerce payment from Plaintiff.
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 1                                     COUNT I
                        DEFENDANT VIOLATED § 1692b(2) OF THE FDCPA
 2
             22.     A debt collector violates § 1692b(2) by stating that a consumer owes any debt
 3

 4
     while communicating with any person other than the consumer for the purpose of acquiring

 5   location information about the consumer.

 6           23.     Defendant violated § 1692b(2) when it disclosed to Plaintiff’s employer, while

 7   attempting to locate Plaintiff, that it was a debt collector attempting to collect a debt owed by

 8   Plaintiff.
 9

10
                                       COUNT II
11                      DEFENDANT VIOLATED § 1692c(b) OF THE FDCPA

12           24.     A debt collector violates § 1692c(b) by communicating, in connection with the

13   collection of any debt, with any person other than the consumer, his attorney, a consumer

14   reporting agency if otherwise permitted by law, the creditor, the attorney of the creditor, or the
15   attorney of the debt collector without the prior consent of the consumer given directly to the debt
16
     collector, or the express permission of a court of competent jurisdiction, or as reasonably
17
     necessary to effectuate a postjudgment judicial remedy.
18
             25.     Defendant violated § 1692c(b) when it contacted Plaintiff’s employer, while
19
     attempting to collect a debt from Plaintiff, and disclosed adverse information pertaining to
20
     Plaintiff’s financial obligations.
21

22

23

24

25



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 1                                       COUNT III
                           DEFENDANT VIOLATED § 1692d OF THE FDCPA
 2
               26.     A debt collector violates § 1692d by engaging in any conduct the natural
 3

 4
     consequence of which is to harass, oppress, or abuse any person in connection with the collection

 5   of a debt.

 6             27.     Defendant violated § 1692d when it placed repeated and continuous harassing

 7   telephone calls to Plaintiff’s cellular telephone; when it continued to call Plaintiff after being

 8   advised that its calls were unwanted; when it disclosed to Plaintiff’s employer that Plaintiff owed
 9
     a debt; and, when it threatened to garnish Plaintiff’s wages without the actual intent to take such
10
     action.
11

12
                                         COUNT IV
13                        DEFENDANT VIOLATED § 1692d(5) OF THE FDCPA

14             28.     A debt collector violates § 1692d(5) by causing a telephone to ring or engaging
15   any person in telephone conversation repeatedly or continuously with intent to annoy, abuse, or
16
     harass any person at the called number.
17
               29.     Defendant violated § 1692d(5) when it placed repeated and continuous harassing
18
     telephone calls to Plaintiff’s cellular telephone; and, when it continued to call Plaintiff after
19
     being advised that the calls were unwanted.
20

21
                                         COUNT V
22
                           DEFENDANT VIOLATED § 1692e OF THE FDCPA
23
               30.     A debt collector violates § 1692e by using any false, deceptive, or misleading
24
     representation or means in connection with the collection of any debt.
25



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 1          31.     Defendant violated § 1692e when it threatened to garnish Plaintiff’s wages, even
 2   though Defendant never actually intended to take such action.
 3

 4
                                       COUNT VI
 5                      DEFENDANT VIOLATED § 1692e(4) OF THE FDCPA

 6          32.     A debt collector violates § 1692e(4) by representing or implying that nonpayment

 7   of any debt will result in the arrest or imprisonment of any person or the seizure, garnishment,

 8   attachment, or sale of any property or wages of any person, unless such action is lawful and the
 9
     debt collector or creditor intends to take such action.
10
            33.     Defendant violated § 1692e(4) when it threatened to garnish Plaintiff’s wages,
11
     even though Defendant never actually intended to take such action.
12

13
                                      COUNT VII
14                     DEFENDANT VIOLATED § 1692e(10) OF THE FDCPA
15          34.     A debt collector violates § 1692e(10) by use of any false representation or
16
     deceptive means to collect or attempt to collect any debt or to obtain information concerning a
17
     consumer.
18
            35.     Defendant violated § 1692e(10) when it threatened to garnish Plaintiff’s wages,
19
     even though Defendant never actually intended to take such action.
20

21
                                       COUNT VIII
22
                          DEFENDANT VIOLATED § 1692f OF THE FDCPA
23
            36.     A debt collector violates § 1692f by using unfair or unconscionable means to
24
     collect or attempt to collect any debt.
25



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 1          37.     Defendant violated § 1692f when it harassed Plaintiff by its unwanted attempts to
 2   communicate with her; when it called Plaintiff’s place of employment and disclosed
 3
     embarrassing information regarding Plaintiff to her employer; and when it threatened to take
 4
     adverse actions against Plaintiff unless she paid the debt; and, generally, when it used unfair and
 5
     unconscionable means to collect the alleged debt.
 6

 7
                                        COUNT IX
 8                       DEFENDANT VIOLATED § 1692g(a) OF THE FDCPA
 9
            38.     A debt collector violates § 1692g(a) if within five days after the initial
10
     communication with a consumer, the debt collector fails to send the consumer a written notice
11
     containing (1) the amount of the debt; (2) the name of the creditor to whom the debt is owed; (3)
12
     a statement that unless the consumer, within thirty days after receipt of the notice, disputes the
13
     validity of the debt, or any portion thereof, the debt will be assumed to be valid by the debt
14
     collector; (4) a statement that if the consumer notifies the debt collector in writing within the
15
     thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will obtain
16

17   verification of the debt or a copy of a judgment against the consumer and a copy of such

18   verification or judgment will be mailed to the consumer by the debt collector; and (5) a statement

19   that, upon the consumer's written request within the thirty-day period, the debt collector will

20   provide the consumer with the name and address of the original creditor, if different from the
21   current creditor.
22
            39.     Defendant violated § 1692g(a) when it failed to send written notification, within
23
     five (5) days after its initial communication with Plaintiff, advising her of her rights to dispute
24
     the debt or request verification of the debt, as well as the name of the original creditor and the
25
     amount of the debt.

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 1
                                          COUNT X
 2                         DEFENDANT VIOLATED § 392.302(4) OF THE TDCA
 3
            40.      A debt collector violates § 392.302(4) by causing a telephone to ring repeatedly or
 4
     continuously, or making repeated or continuous telephone calls, with the intent to harass a person
 5
     at the called number.
 6
            41.      Defendant violated § 392.302(4) when it placed repeated and continuous
 7
     harassing telephone calls to Plaintiff’s cellular telephone; and, when it continued to call Plaintiff
 8
     after being advised that the calls were unwanted.
 9

10

11                                        COUNT XI
                          DEFENDANT VIOLATED § 392.303(a)(2) OF THE TDCA
12
            42.      A debt collector violates § 392.303(a)(2) by using unfair or unconscionable means
13
     to collect a debt.
14
            43.      Defendant violated § 392.303(a)(2) when it harassed Plaintiff by its unwanted
15
     attempts to communicate with her; when it called Plaintiff’s place of employment and disclosed
16

17   embarrassing information regarding Plaintiff to her employer; and when it threatened to take

18   adverse actions against Plaintiff unless she paid the debt; and, generally, when it used unfair and

19   unconscionable means to collect the alleged debt.

20

21                                       COUNT XII
                          DEFENDANT VIOLATED § 392.304(a)(8) OF THE TDCA
22

23
            44.      A debt collector violates § 392.304(a)(8) by making fraudulent, deceptive or

24   misleading representations when collecting a debt.

25          45.      Defendant violated § 392.304(a)(8) when it threatened to garnish Plaintiff’s

     wages, even though Defendant never actually intended to take such action.
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 1                                       PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiff, REBECCA MAHAR, respectfully prays for a judgment as
 3   follows:
 4                   a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
 5                   b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
 6                      15 U.S.C. § 1692k(a)(2)(A);
 7                   c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
 8                      costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3) and Tex. Fin.
 9                      Code § 392.403(b);
10                   d. Any other relief deemed appropriate by this Honorable Court.
11

12                                   DEMAND FOR JURY TRIAL
13           PLEASE TAKE NOTICE that Plaintiff, REBECCA MAHAR, demands a jury trial in
14
     this case.
15

16
       DATED: June 20, 2014                      KIMMEL & SILVERMAN, P.C.
17
                                                 By:_/s/ Amy L. Bennecoff
18                                                   Amy L. Bennecoff
                                                     Attorney for Plaintiff
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